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                                                                                                     FILED
                                                                                            U.S. DISTRICT COURT
                        UNITED STATES DISTRICT COURT                                       DISTRICT OF VERMONT
                                                                                                   10/26/2021
                            DISTRICT OF VERMONT
                                                                                    5:21-mc-150


       IN RE: AMENDED ORDER REVISING COVID-19 RESTRICTIONS IN
              PUBLIC AREAS OF FEDERAL BUILDINGS AND COURTHOUSES


                              GENERAL ORDER NO. 103

The purpose of this General Order is to supersede and amend General Order No. 101
issued on August 4, 2021 revising the District of Vermont’s courthouse entrance
protocols and COVID-19 restrictions in public areas of the district’s courthouses.

In the continued interest of public health and safety, and after consideration of public health
guidelines issued by the Centers for Disease Control and Prevention (CDC), and the State of
Vermont, IT IS HEREBBY ORDERED, that within Vermont’s federal courthouses:


       1. Masking is required in all public spaces (including courtrooms) for all employees, on-
          site contractors, and visitors, regardless of vaccination status;

       2. Masking and social distancing is required for unvaccinated or partially vaccinated
          individuals;

       3. This policy applies only to public spaces. Each individual agency will determine the
          requirements for their own internal agency workspace;

       4. For all trials, the presiding judge will make a ruling regarding COVID-19 protocols for
          all trial participants. The judge will make this decision before the trial as part of a
          broader discussion about trial preparations and safety precautions with counsel for all
          parties and other participants.

        IT IS FURTHER ORDERED that the following persons may not enter any
courthouse in the District of Vermont:

   •    Persons who have tested positive for COVID-19, or been told by a health-care provider to
        assume they have COVID-19 due to symptoms or other factors, in the past 14 days;

   •    Persons who have experienced symptoms of COVID-19 within the past 14 days that are
        not explained by allergies or an underlying condition, including fever, cough, shortness
        of breath or difficulty breathing, extreme fatigue, nausea or vomiting, congestion or
        runny nose, muscle or body aches, headache, sore throat, new loss of taste or smell;
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   •   Persons who have had close contact within the past 14 days with anyone with COVID-19
       during the time period starting 48 hours before the onset of the infected person’s
       symptoms or positive COVID-19 test. “Close contact” is defined by the CDC as being
       within 6 feet for at least 15 minutes over a 24-hour period. Please note that this
       restriction does not apply to those who have achieved full vaccination prior to the
       close contact. “Fully vaccinated” is defined as being 2 or more weeks after the final
       dose (e.g., first for Janssen/Johnson & Johnson, second for Pfizer and Moderna) of the
       vaccine approved by the FDA or authorized by the FDA for emergency use. Vaccines
       that are not authorized by the U.S. Federal Drug Administration (FDA) for emergency
       use or approved by the FDA do not satisfy this definition.

Anyone attempting to enter in violation of these protocols will be denied entry by a Court
Security Officer.
Anyone who has business in one of the courthouses of the District of Vermont, but who cannot
enter because of this order, should do the following:


   •   Persons who are represented by an attorney should contact their attorney;

   •   Persons who are scheduled to meet with a Probation or Pretrial Services Officer should
       contact the Probation Office (802) 652-3000;

   •   Jurors should contact the district’s jury administrator at (802) 951-8110;

   •   Persons having any other business with the United States District Court for District of
       Vermont should contact the Clerk of Court at (802) 951-6301;

   •   Persons having any other business with the United States Bankruptcy Court for District
       of Vermont should contact the Clerk of Court at (802) 657-6400;

   •   Persons having any other business with any other federal tenant agency located in the
       district’s courthouses should contact the appropriate federal agency directly.

This order shall be effective immediately and will remain in effect until amended or vacated.

         Dated at Burlington, in the District of Vermont, this 26th day of October, 2021.




                              _____________________________
                                 Hon. Geoffrey W. Crawford
                                        Chief Judge
